                      Case 1:19-mj-00236-RMM Document 1 Filed 09/24/19 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                        )
                             v.                                   )
                 SALUSTHIAN LUTAMILA                              )      Case No.
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   November 2018               in the county of     United States of America   in the
                       District of           Columbia         , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. 1343                                  Wire Fraud




         This criminal complaint is based on these facts:
See Affidavit




         ✔ Continued on the attached sheet.
         u



                                                                                             Complainant’s signature

                                                                                     Randy C. Combs, Special Agent
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             09/24/2019
                                                                                                Judge’s signature

City and state:                         Washington, D.C.                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                              Printed name and title
